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                                               ORDERED.
         Dated: June 14, 2021




                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION
                                        www.flmb.uscourts.gov


In re:                                                          Chapter 11

RAJ S. AMBAY,                                                   Case No. 8:20-bk-5283-CED

           Debtor.
                                     /

GENESIS SURGERY CENTER, LLC, a
Florida limited liability company,

           Plaintiff,                                           Adv. Pro. No. 8:20-ap-00503-CED

v.

RAJ S. AMBAY,

      Defendant.
__________________________________/


    ORDER GRANTING DEBTOR’S MOTION TO CONTINUE JUNE 14, 2021 HEARING

           THIS CASE came on for consideration without a hearing upon the Debtor’s Motion to

Continue June 14, 2021 Hearing (Adv. Doc. No. 21) (the “Motion”)1. The Court, having




1
    Unless otherwise defined herein, capitalized terms have the same meanings ascribed to them in the Motion.
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considered the Motion together with the record, finds that the Motion is well taken and should be

granted. Accordingly, it is

         ORDERED that:

         1.       The Motion is granted.

         2.       The June 14, 2021 hearing on the Motion to Dismiss is continued to

July 19, 2021 at 1:30 pm.


Attorney Edward J. Peterson is directed to serve a copy of this order on interested parties who do not receive service
by CM/ECF and to file a proof of service within 3 days of entry of the order.




                                                          2
4813-5710-2062, v. 1
